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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                           )
HOWARD T. TYSON,                           )
                                           )
              Plaintiff,                   )
                                           )
              v.                           )       Civil Action No. 16-cv-1678 (KBJ)
                                           )
MEGAN J. BRENNAN,                          )
                                           )
              Defendant.                   )
                                           )

                                     SCHEDULING ORDER

      The parties appeared before the Court on July 12, 2018 for an initial scheduling

conference. Upon consideration of the representations that the parties made during the

conference, and also in their joint report(s) submitted pursuant to LCvR 16.3(d), it is

hereby ORDERED that:

      1.      Discovery Deadlines. Discovery in this case shall proceed with the
              following deadlines:

               Initial disclosures                                      December 21, 2018
               Motion to join parties, amend pleadings                  December 21, 2018
               Plaintiff’s FRCP 26(a)(2)(B) expert disclosures          January 21, 2019
               Defendant’s FRCP 26(a)(2)(B) expert disclosures          March 21, 2019
               Rebuttal expert witness designations                     March 21, 2019
               Close of all discovery                                   April 22, 2019

      2.      Discovery Limits, Responses, and Objections.

              a.     Counsel are referred to LCvR 26.2 and expected to conform fully
                     with its directives.
              b.     Each side is limited to a maximum of [five (5)] depositions.
              c.     Each party is limited to maximum of [twenty-five (25)]
                     interrogatories, including discrete subparts.
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        d.    Each party is limited to a maximum of [twenty-five (25)] requests
              for admissions, including discrete subparts.
        e.    Objections and responses to all interrogatories, requests for
              production, and requests for admission shall be made no more than
              thirty days after service. Fed. R. Civ. P. 33(b)(2), 34(b)(2)(A),
              36(a)(3).
        f.    Objections to interrogatories and requests for production must be
              stated with specificity. Fed. R. Civ. P. 33(b)(4), 34(b)(2)(B).
        g.    An objection to a request for production “must state whether any
              responsive materials are being withheld on the basis of that
              objection. An objection to part of a request must specify the part
              and permit inspection of the rest.” Fed. R. Civ. P. 34(b)(2)(C).
        h.    A party must answer those portions of an interrogatory to which it
              does not object. Fed. R. Civ. P. 33(b)(3).
        i.    Discovery material shall not be filed with the Court unless so
              ordered. See LCvR 5.2(a).

3.      Discovery Disputes.

        a.    Under LCvR 7(m), counsel must confer in good faith if discovery
              disputes arise and are hereby ordered to attempt to resolve any
              discovery dispute before bringing it to the Court’s attention.
        b.    In the event that counsel are not able to resolve a discovery dispute,
              counsel shall jointly call Chambers (202-354-3350) to arrange for a
              telephone conference with the Court.
        c.    Counsel shall not file any discovery-related motion without a
              prior telephone conference with the Court and opposing
              counsel.
4.      Alternative Dispute Resolution and Settlement. The parties and their
        counsel are expected to evaluate their respective cases for settlement
        purposes. Submission to alternative dispute resolution, e.g., mediation or
        neutral evaluation, is encouraged and available upon request to the Court
        at any time, as is a settlement conference before a Magistrate Judge. If
        the case settles in whole or in part, plaintiff shall advise the Court by
        promptly filing a stipulation.

5.      Hearings and Conferences.

        a.    Trial counsel must be present at all conference and hearings unless
              excused by the Court in advance of the hearing date.
        b.    A Mid-Discovery Status Conference is scheduled for February 5,
              2019 at 10:30 AM. Counsel are expected to come to this



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                   conference prepared to discuss the status of discovery, including
                   whether any modifications to this Order are necessary.
             c.    A Post-Discovery Status Conference is scheduled for April 30,
                   2019 at 10:30 AM. Counsel are expected to come to this
                   conference prepared to discuss the status of discovery, their
                   respective settlement positions, and whether they anticipate filing
                   dispositive motions. Counsel must bring full settlement authority
                   to the status conference. If settlement is not reached, a pretrial
                   conference date, and trial date, may be selected. Counsel should be
                   prepared to advise the Court regarding the expected length of a trial
                   and the number of fact and expert witnesses each party will present.

     6.      Dispositive Motions Schedule. Dispositive motions shall be filed by May
             22, 2019; oppositions by June 24, 2019; and replies, if any, by July 9,
             2019.

     7.      Schedule Modification. This schedule shall not be modified, even where
             all parties consent, except upon a showing of good cause and by leave of
             the Court. See FRCP 16(b); LCvR 16.4.

     8.      Communications with the Court. The parties’ communication with the
             Court should be in writing and only by written motion, opposition, and
             reply, not by letter. Oral inquiries concerning the status or scheduling of
             any pending matter are disfavored. If a party nevertheless needs to make
             such an oral inquiry, such questions should be directed to the Courtroom
             Deputy Clerk, Mrs. Gwen Franklin (202-354-3145) rather than to
             chambers. If Ms. Franklin is unavailable, such inquiries should be
             directed to the staff person in the clerk’s office who has been designated
             as her substitute. In an emergency, however, Chambers can be reached at
             202-354-3350.

     9.      Compliance with General Order and Guidelines. Counsel are expected to
             comply fully with the directives in this Court’s General Order and
             Guidelines for Civil Cases and the Appendix thereto (ECF No. 32,
             filed October 24, 2018). Counsel should take particular note of the
             Court’s requirements for courtesy copies (Appendix ¶ 3(d)); Tables of
             Contents, Tables of Authority, and indices of exhibits (Appendix ¶ 5(a));
             for motions for extensions of time (Appendix ¶ 5(b)); and for motions for
             summary judgment (Appendix ¶ 5(d)). Any submissions that do not
             conform with the Court’s General Order and Guidelines for Civil Cases
             will not be accepted.

Date: November 8, 2018                         Ketanji Brown Jackson
                                               KETANJI BROWN JACKSON
                                               United States District Judge



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